895 F.2d 1421
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.In re The LEVER BROTHERS.
    No. 89-1636.
    United States Court of Appeals, Federal Circuit.
    Jan. 16, 1990.
    
      PER CURIAM.
    
    
      1
      Before (NIES and MICHEL, Circuit Judges, and BRIAN BARNETT DUFF, District Judge*):
    
    
      2
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Brian Barnett Duff, District Judge of the Northern District of Illinois, sitting by designation
      
    
    